            Case 2:24-cv-00494-RDP Document 5 Filed 04/30/24 Page 1 of 2                                                   FILED
                                                                                                                  2024 Apr-30 PM 03:33
                                                                                                                  U.S. DISTRICT COURT
                                                                                                                      N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

JAMES VESTAL, an incompetent adult, )
by and through his next friend      )
and Mother, KIMBERLY CARTER,        )
                                    )
     Plaintiff,                     ) Case No.: 2:24-CV-494-RDP
                                    )
v.                                  )
                                    )
UNITED STATES OF AMERICA,           )
                                    )
     Defendant.                     )

    PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

    COMES NOW Plaintiff and files his response to Defendant’s Motion to Dismiss.

In light of the findings presented in its Motion to Dismiss regarding the employment

of the Physician at issue in this medical malpractice action, Plaintiff respectfully

requests this Honorable Court dismiss this action WITHOUT prejudice so Plaintiff

may pursue his claim under the FTCA.1 See Chamblin v. United States, 2022 WL

17721585 (N.D. Ala. 2022)(factually similar case dismissing action without




1
  Plaintiff admits he has not filed an administrative claim under the FTCA as Plaintiff was simply unaware that the
physicians at Cahaba Medical Facility were Federal employees. Although the United States findings prevent
remand, Plaintiff has weighed the danger of delay in pursuing discovery over the federal employee issue versus the
possibility of a subsequent finding that the physician was in fact an independent contractor, and Plaintiff believes the
best procedural route is for the dismissal without prejudice of his state law complaint in order to initiate his
administrative claim.

                                                                                                                      1
         Case 2:24-cv-00494-RDP Document 5 Filed 04/30/24 Page 2 of 2




prejudice where Court lacked subject matter jurisdiction for failure to exhaust

administrative remedies under the FTCA).

      Respectfully submitted this the 30th day of April, 2024.

                                              s/ Lloyd W. Gathings
                                              State Bar ID: (asb-1365-g58l)
                                              OF COUNSEL:
                                              Gathings Law
                                              2140 11th Avenue S., Ste. 210
                                              Birmingham, AL 35205
                                              lgathings@gathingslaw.com

                          CERTIFICATE OF SERVICE

      I hereby certify that on this the 30th day of April, 2024, I electronically filed

the foregoing document with the Clerk of the Court using the CM/ECF system,

which will automatically serve a true and accurate copy of the foregoing on the

following attorney(s) of record in this action:

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                                                     s/ Lloyd W. Gathings
                                                     OF COUNSEL

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